                               UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF OHIO


In re:
           Debtor(s):                                 Judge: TIIARA N.A. PATTON
           Squirrels Research Labs LLC, et al.
                                                      Bankruptcy Case: 21−61491−tnap
           Plaintiff(s):
           Frederic P Schwieg, Trustee                Adv.Proc.No: 23−06031−tnap

               −vs−

           Defendant(s):
           Kyle Slutz


                           SUMMONS AND NOTICE OF PRE−TRIAL CONFERENCE


To the above−named defendant(s):
   You are summoned and required to serve upon Frederic P Schwieg, plaintiff's attorney, whose address is 19885
Detroit Rd, #239, Rocky River, OH 44116, either a motion or an answer to the attached complaint that is now
served upon you. If you elect to respond first by motion, Bankruptcy Rule 7012 governs the time within which your
answer must be served. Otherwise, you are required to serve your answer upon plaintiff's attorney by December 27,
2023, except that the United States or an office or agency thereof shall serve an answer to the complaint within 35
days after the date of issuance of summons.

   [If this summons and complaint are served in a foreign country] Service of your answer must be made by the
following date prescribed by the court:

   The motion or answer served by you must be filed with this court either before service or within a reasonable time
after service. IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS SUMMONS, JUDGMENT BY
DEFAULT WILL BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED BY THE COMPLAINT.

  YOU ARE HEREBY NOTIFIED THAT A PRE−TRIAL CONFERENCE WITH RESPECT TO THIS
COMPLAINT HAS BEEN SET AT THE FOLLOWING TIME AND PLACE: January 23, 2024 at 01:00 PM ,
U.S. Bankruptcy Court, Courtroom, Ralph Regula U.S. Courthouse, 401 McKinley Ave SW, Canton, OH
44702


                                                                   Josiah C. Sell
                                                                Clerk of Bankruptcy Court

                                                           By: /s/ Anita Pribula,
                                                                Deputy Clerk, US Bankruptcy Court




                                                           Date: November 27, 2023 Form ohnb310
Date of issuance:November 27, 2023




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                                                                              Adversary Proceeding No. 23−06031−tnap :


                                          CERTIFICATE OF SERVICE

I,
of**                       Frederic P. Schwieg
certify:

   That I am, and at all times hereinafter mentioned was, more than 18 years of age;
That on the     30th            day of      November             , 2023 ,
I served a copy of the within summons and notice of pretrial conference, together with the complaint filed in this
proceeding, on




the defendant(s) in this proceeding, by [describe here the mode of service]


                     Certified First Class Mail Postage Prepaid


the said defendant(s) at


               Kyle Slutz 1116 Nimisilia Rd New Franklin, OH 44216


certify under penalty of perjury that the foregoing is true and correct.


                     12/1/2023                                             /s/ Frederic P. Schwieg
Executed on
                                 [Date]                                           [Signature]

     19885 Detroit Rd #239 Rocky River OH 44116
** State mailing address




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